239 F.2d 645
    Edward Milton WALLACEv.UNITED STATES of America.
    No. 5487.
    United States Court of Appeals Tenth Circuit.
    November 16, 1956.
    
      Appeal from the United States District Court for the Eastern District of Oklahoma.
      Anthis &amp; Gotcher, Muskogee, Okl., for appellant.
      Frank D. McSherry, U. S. Atty., Harry G. Fender, Asst. U. S. Atty., and Paul M. Brewer, Asst. U. S. Atty., Muskogee, Okl., for appellee.
      Before BRATTON, Chief Judge, and PHILLIPS and LEWIS, Circuit Judges.
    
    
      1
      Dismissed for failure of appellant diligently to prosecute the same.
    
    